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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
MICHAEL MAROM,

                                   Plaintiff,
                 -against-                                                    18 CIVIL 12094 (VB)

                                                                                JUDGMENT
AUDREY PIEROT and MARK GORDON,

                                    Defendants.
-----------------------------------------------------------X

        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Order dated November 9, 2020, the Court adopts the R&R as the opinion of

the Court, and defendants’ motions to dismiss are granted; accordingly, this case is closed. The

Court certifies, pursuant to 28 U.S.C. § 1915(a)(3), that any appeal from this order would not be

taken in good faith, and therefore in forma pauperis statues is denied for the purpose of an appeal.

Dated: New York, New York

          November 9, 2020


                                                                         RUBY J. KRAJICK
                                                                      _________________________
                                                                            Clerk of Court
                                                                BY:
                                                                      _________________________
                                                                            Deputy Clerk
